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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION
JOE PERRY GARRETT,         )
                           )
             Movant,       )
v.                         )                Case No. CV412-237
                           )                               CR499-133
UNITED STATES OF AMERICA, )
                           )
             Respondent.   )

                                   ORDER

      Movant, an inmate at the Federal Correctional Institution in Jesup,

Georgia, has filed with this Court a motion under 28 U.S.C. § 2255 to vacate, set

aside, or correct his federal sentence. The Clerk is DIRECTED to serve the

United States Attorney with this Order and a copy of the petition, if he has not

already done so. Rule 3(b), Rules Governing Proceedings in the United States

District Courts under § 2255.

      The Court directs respondent to file an answer or response within thirty

days from the date of this Order. Rule 4(b). The movant is directed to furnish the

United States Attorney in Savannah, Georgia, with copies of all further motions

or papers filed in this case.

      SO                 this 4th day of October, 2012.



                                                UNITED STATES MAGISTRATE JUDGE
                                                SOUTHERN DISTRICT OF GEORGIA
